December 18, 2019



The Honorable Ann M. Donnelly
United States District Court
Eastern District of New York
225 Cadman Plaza East
Courtroom 4GN
Brooklyn, NY 11201


Re:    United States v. Huawei Technologies Co., Ltd., et al., 18 CR 457 (S-2)(AMD);
       Adding Additional Defense Counsel as Defined by the Protective Order

Dear Judge Donnelly:

        We represent Huawei Technologies Co., Ltd. and Huawei Device USA Inc. (collectively,
the “Huawei Defendants”) in the above-referenced matter. The Huawei Defendants hereby
provide notice that, by agreement of the parties pursuant to paragraph 7 of the Protective Order
entered by the Court on June 10, 2019 (the “Protective Order”), Steptoe & Johnson LLP will
serve as additional Defense Counsel pursuant to the Protective Order.

       A copy of an additional signature page executed by Edward J. Krauland is attached.

       Respectfully submitted,


         /s/ Michael A. Levy                      /s/ David Bitkower
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